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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
 V.                                              '           CASE NO. 1:20-CR-14
                                                 §
                                                 §
 BENJAMIN KALEB JACKSON                          §

                            REPORT AND RECOMMENDATION
                             ON DEFENDANT=S COMPETENCY

        Pursuant to 28 U.S.C. § 636(b) and the Local Rules for the United States District Court for

 the Eastern District of Texas, this criminal proceeding is before the undersigned United States

 Magistrate Judge upon referral from the District Court.             The Court now enters its

 recommendation that the District Court find the defendant, Benjamin Kaleb Jackson, competent

 to proceed.

        A.      Procedural Background and the Forensic Psychologist’s Report

        On February 28, 2020, pursuant to the motion of counsel, the undersigned entered an order

 directing the mental examination of the defendant (doc. #15).    In that order, the Court directed

 that the defendant be committed to the custody of the Attorney General for placement in a suitable

 facility for an examination by a psychiatrist or psychologist to determine whether, pursuant to 18

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 U.S.C. § 4241, he is suffering from a mental disease or defect rendering him mentally incompetent

 to the extent he is unable to understand the nature and consequences of the proceedings against

 him or to assist properly in his defense.

        The Court received notification from the warden at the Federal Medical Center in Fort

 Worth, Texas, that a psychological evaluation had been completed pursuant to the Court’s order.

 Lesli Johnson, Ph. D., forensic psychologist, issued her report concluding that there is no objective

 evidence or information indicating that Mr. Jackson suffers from signs or symptoms of a major

 mental disorder that would impair his present ability to understand the nature and consequences of

 the court proceedings brought against him, or impair his ability to properly assist counsel in his

 defense. See Sealed Report (doc. #22), at p. 13.

        The competency report, which reflects the examiner’s method of evaluation and opinion in

 detail and sets forth the corresponding psychological findings and recommendations, was filed in

 the record under seal and provided to both the defendant and the attorney for the Government.

 On September 10, 2020, the Court conducted a competency hearing by video to address the

 findings set forth in the psychological report. Given the opportunity, neither party objected to

 the examiner’s conclusion that Mr. Jackson is competent.

        B.      Conclusion and Recommendation

        Accordingly, based upon the opinion issued by the forensic psychological examiner, the

 undersigned recommends that the District Court find the defendant, Benjamin Kaleb Jackson,

 competent to proceed pursuant to 18 U.S.C. § 4241.




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        C.      Objections

        Objections must be:    (1) specific, (2) in writing, and (3) served and filed within fourteen

 (14) days after being served with a copy of this report. See 28 U.S.C. ' 636(b)(1).       A party=s

 failure to object bars that party from:   (1) entitlement to de novo review by a district judge of

 proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th Cir.

 1988), and (2) appellate review, except on grounds of plain error of unobjected-to factual findings
       . conclusions accepted by the district court, see Douglass v. United Servs. Auto. Ass=n., 79
 and legal

 F.3d 1415, 1417 (5th Cir. 1996) (en banc).    The constitutional safeguards afforded by Congress

 and the courts require that, when a party takes advantage of his right to object to a magistrate=s

 findings or recommendation, a district judge must exercise its nondelegable authority by

 considering the actual evidence and not merely by reviewing and blindly adopting the magistrate

 judge=s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir. 1983);

 United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).



                          SIGNED this the 11th day of September, 2020.




                                                            ____________________________________
                                                            KEITH F. GIBLIN
                                                            UNITED STATES MAGISTRATE JUDGE




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